   UNITED STATES DISTRICT COURT

   THE MIDDLE DISTRICT OF TENNESSEE

   801 BROADWAY #800
                                                                MAR 2 3 2090
  NASHVILLE, TN 37203                                         U.S. District Court
                                                             Middle District of TN




            CONSTITUTIONAL VIOLATIONS
                                  5" Amendment

                                  61" Amendment

                                  14`j' Amendment

                                  Several Others




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                                UNITED STATES DISTRICT COURT

                             THE MIDDLE DISTRICT OF TENNESSEE

                                      801 BROADWAY #800

                                      NASHVILLE, TN 37203

  ERNEST HENDERSON
  PLAINTIFF,
  General Delivery
  Chattanooga, TN 37401

  N

  Christie M. Sell, HONORABLE JUDGE
  Hamilton County General Sessions Court
  Sessions Court -
  Criminal Division
  108 Courts Building
  600 Market Street
  Chattanooga, TN 37402

  3410 amnicola Hwy
  Chattanooga, TN 37406
  Officer D. Johnson Badge #853 White female
  Partner she left off report White male
  False arrest happened on 02/08/2020
  White Male officer Car #4955
  White female officer Car #1245
  Officer A. Beard (78424)
  Partner on day of 10/29/19
  K Orsburn (662)
  Officer Black Female Car #4629
  Two White Officers: Male Officers
  Black female employee of Pilgrims Pride
  Valarie is her name
   Officer G. Stroud (75386)Badge #
   Officer Klein, (66488) Badge #
   Officer A. Beard (78424) Badge #
   Officer Orsburn, K (662) Badge#
   Officer Brelsford (77566) Badge#
   D. Johnson, (853) Badge#

   Department of Labor and Workforce Development
   Jeff McCord, Commissioner
   220 French Landing Drive
   Nashville, Tennessee 37243




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   Susan K. Lee, United States Magistrate Judge
   Chambers Address:
   900 Georgia Avenue, Room 401
   Chattanooga, TN 37402

   Hon. Loretta A. Preska
   Daniel Patrick Moynihan
   United States Courthouse
   500 Pearl St.                                                  U.S. District Court
   New York, NY 10007-1312
                                                                 Wddle District of TN
   Mobile County Sheriffs Office
   510 South Royal Street,
   Mobile, AL 36603
   CHARLES HENDERSON Sergeant
   Samuel Cochran, Sheriff Mobile County, AL

   Bill Lee, Governor of Tennessee
   1st Floor, State Capitol
   Nashville, TN 37243

   Brian P. Kemp, Governor of Georgia
   206 Washington St.
   Suite 203, State Capitol
   Atlanta, GA 30334

   Kay Ivey, Governor of Alabama
   600 Dexter Avenue
   Montgomery, AL 36130

   Larry Hogan, Governor of Maryland
   100 State Circle,
   Annapolis, MD 21401

   United States Marshal -
   Two white male Marshal's
   900 Georgia Ave
   Chattanooga, TN 37402


   Pamela L. Reeves, Chief United States District Judge

   Chambers Address:
   800 Market Street, Suite 145
   Knoxville TN 37902




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   Chambers Address:                                     )
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   Chattanooga, IN 37402                                 )

   Curtis L. Collier, Senior United States District Judge )
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   Hamilton County Criminal Court Clerk
   600 Market Street Suite 102
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   Heather
   Director of Office

   Chief of Police David Roddy
   Chattanooga Police Department
   3410 Amnicola Hwy
   Chattanooga, TN 37406

   City of Chattanooga, TN
   Mayor's Office
   Andre Burke
   101 E. 121h Street
   Chattanooga, TN 37402
   PHILLIP A. NOBLETT — City Attorney
   Suite 200
   2nd Floor City Hall Annex
   100 E. 11th Street
   Chattanooga, TN 37402
   City Council Building
   1000 Lindsay Street
   Chattanooga, TN 37402-4233
   Chip Henderson District 1
   Jerry Mitchell District 2
   Ken Smith District 3
   Darren Ledford District 4
   Russell Gilbert, District 5
   Carol B. Berz, District 6
   Erskine Oglesby Jr., District 7
   Anthony Byrd, District 8



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   Demetrus Coonrod District 9

   Chattanooga, TN Housing Authority
   801 N Holtzclaw Ave,
   Chattanooga, TN 37404

   Sheriff Jim Hammond                                        )
   600 Market St G 10,                                        )
   Chattanooga, TN 37402                                      )

   600 Market Street
   Chattanooga, TN 37402
   Lorrie Miller, Chief Magistrate
   Andrew Basler

   Justin Strand, Superintendent
   Alternative Sentencing Programs
   Hamilton County Government
   Hixson, TN 37343

                       DUE PROCESS OF LAW, HEARING & JURY TRIAL:

   JURY TRIAL, A jury trial or trial by jury is a legal proceeding in which a jury either makes a
   decision or makes findings of fact, which then direct the actions of a judge. It is distinguished from a
   bench trial, in which a judge or panel of judges make all decisions.
   "An orderly proceeding wherein a person is served with notice, actual or constructive, and has an
   opportunity to be heard and to enforce and protect his rights before a court having power to hear and
   determine the case. Kazubowski v. Kazubowski, 45 I11.2d 405, 259, N.E.2d 282, 290." Black's Law
   Dictionary, 6th Edition, page 500.
   "The essential elements of due process of law are notice, an opportunity to be heard, and the right to
   defend in an orderly proceeding." Fiehe v. R.E. Householder Co., 125 So. 2, 7 (Fla. 1929).
   "To dispense with notice before taking property is likened to obtaining judgement without the defendant
   having ever been summoned." Mayor of Baltimore vs. Scharf, 54 Md. 499, 519 (1880).

                                              RULE OF LAW
   Can a Judge disregard the Rule of Law and the Constitution, his Oath of Office and his Code of Conduct
   and be granted immunity by a paragraph in a U.S. Code that is subservient to, and therefore void, if it
   comes into conflict with the Constitution?

   In the event that a Judge can be elevated above the law and somehow be granted immunity for actions
   well beyond his Jurisdiction, can orders and Judgments that violate statutory and Constitutional law be
   allowed to stand; including those installed to replace previous Judgments without hearing?

   Can federal Judges, in violation of Canon 3 A (4) of the Federal Code of Conduct, deny the full right to
   be heard according to law, including submittal of evidence?

   In a limited government, the question here should be, "Are this citizen's rights being violated by these
   actions?", and not, "Is the violation of this citizen's rights being violated by these actions?", and not, "Is
   the violation of this citizen's rights Justified because of overriding government goals and objectives?"




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   By what authority do you, by oath, servants of the Constitution, ignore its laws and guidelines and govern
   by rule of man rather than rule of law?

           Many pro se litigants will use this in their pleadings; "Pleadings in this case are being filed by

   Plaintiff Ernest Henderson In Propria Persona, wherein pleadings are to be considered without regard to

   technicalities. Propria, pleadings are not to be held to the same high standards of perfection as practicing

   lawyers. See Haines v. Kerner 92 Sct 594, also See Power 914 172d 1459 (11`x' Cirl990), also See Hulsey

   v. Ownes 63 173d 354 (5th Cir 1995). also See In Re: HALL v. BELLMON935 F.2d 1106 (10th Cir.

   1991)." In Puckett v. Cox, it was held that a pro-se pleading requires less stringent reading than one

   drafted by a lawyer (456 172d 233 (1972 Sixtli Circuit USCA). Justice Black in Conley v. Gibson, 355

   U.S. 41 at 48 (1957) "The Federal Rules rejects the approach that pleading is a game of skill in which one

   misstep by counsel may be decisive to the outcome and accept the principle that the purpose of pleading

   is to facilitate a proper decision on the merits." According to Rule 8(f) FRCP and the State Court rule

   which holds that all pleadings shall be construed to do substantial justice."

                                  Defense against dismissal of complaint under Rule 12-B

            There is legal sufficiency to show Plaintiff is entitled to relief under his Complaint. A Complaint

   should not be dismissed for failure to state a claim unless it appears beyond a doubt that the Plaintiff can

   prove no set of facts in support of his claim which would entitle him to relief. See Conley v. Gibson, 355

   U.S. 41, 45-46 (1957) also Neitzke v. Williams, 109 S. Ct. 1827, 1832 (1989). Rule 12(b) (6) does not

   countenance dismissals based on a judge's disbelief of a complaint's factual allegations. In applying the

   Conley standard, the Court will "accept the truth of the well-pleaded

   factual allegations of the Complaint."

                                                      STATEMENT

           When a judge knows that he lacks jurisdiction, or acts in face of clearly valid statutes expressly

   depriving him or jurisdiction, judicial immunity is lost. Rankin v. Howard, 1980) 633 F.2d 844, cert den.

   Zeller v. Rankin, 101 S. Ct. 2020, 451 U.S. 939, 68 L.Ed 2d 326. Moreover, "the court is under a duty to

   examine the complaint to determine if the allegations provide for relief provide for relief on any possible




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   theory," Bonner v. Circuit Court of St. Louis, 526 F.2d 1331, 1334 (8" Cir. 1975) (quoting Bramlet v.

   Wilson, 495 F.2d 714, 716 (8`" Cir. 1974) not to rule according to friendship and things outside of the law.

   In re Murchison, 349 U. S. 133. Finding that "no man can be a judge in his own case," and "no man is

   permitted to try cases where he has an interest in the outcome," id., at 136, Caperton v. A. T. Massey

   Coal Co., 556 U.S. 868 (2009). The manager exerted power that he did not have a right to exert and

   illegally exerted it in his own defense. Judge Christie M. Sell, Hamilton County General Sessions Court

   presided over GS1786879, GS1786880, which was criminal trespass and disorderly conduct charges

   created through the lenses of entrapment which was outlawed by the United States Supreme Court and

   rebelled against by the US Supreme Court in Sherman vs United States, (1958), a clearly established case

   on entrapment. There was a request made by Ernest Henderson to the Alternative Sentencing Pretrial

   Court Proceedings that was denied by its leader because he was participating in intentional spoliation

   which is in contradiction to the Tennessee Supreme Court record in a clearly established case on

   intentional spoliation in "In a departure from the intent requirement, one Court sanctioned a party that

   unintentionally lost or destroyed evidence. See, e.g., Cincinnati Ins. Co. v. Mid-South Driller Supply, Inc.,

   2008 WL 220287, * 1 (Tenn. Ct. App. Jan. 25, 2008) (holding that "a trial court has the discretion to

   sanction a party ... [for] destruction of evidence ... irrespective of whether the destruction was

   inadvertent or intentional."). His denial of my Tennessee Records request as to the names of the

   participants who scanned me into their system in an illegal arrest and illegal procedure of probation by

   Alternative Pre-trial Court Proceedings for Hamilton County, TN whether knowing or unknowing is not a

   defense against Ernest Henderson claims of injustices by their department through Cincinnati Ins. Co. v.

   Mid--South Driller Supply, Inc., 2008 WL 220287, * 1 (Tenn. Ct. App. Jan. 25, 2008), clearly established

   ruling by the Tennessee Supreme Court of Appeals on Spoiiation of Evidence. Judge Sell presided over

   GS1786879, GS1786880, where she denied Ernest Henderson constitutional right to cross examine his

   accusers through the sidewalk In 2004, in Crawford v. Washington, a clearly established case on

   confrontational clause requirement. Judge Sell also denied Ernest Henderson the right to




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  effective assistance of an Attorney which is "The Assistance of Counsel Clause of the Sixth

  Amendment to the United States Constitution provides: "In all criminal prosecutions, the accused

  shall enjoy the right ... to have the Assistance of Counsel for his defense. "Under Ar ~
                                                                                         >ersinger v.

  Hamlin, 407 U.S. 25 (1972), counsel must be appointed in any case resulting in a sentence of

  actual imprisonment". Powell vAlabama, (1932) is a clearly established on effective assistance

  of counsel since in that case counsel was ineffective in defending Powell one of the Scottsboro

  boys. Here Judge Sell has lost jurisdiction because conspiracy, fraud, denying constitutional

   rights does not guarantee another opportunity to preside over a case with the same individual you

  have already violated Ernest Henderson's constitutional rights in another case GS1786879,

   GS1786880 can not preside over the same against Ernest Henderson through both Caperton et at v. A. T.

  MASSEY COAL CO., INC., et al. (2009) clearly established on recusal and Collateral estoppel though it

   is being presented by other police officers within the same police department or the same District

   Attorney's Office is voided through Ashe v. Swenson, 397 U.S. 436 (1970). Judge Sell is scheduled to

   rule in another criminal trespass case against Ernest Henderson within Hamilton County Sessions Court

   of Tennessee in Chattanooga, TN on March 19, 2020 and she does not realize because of Collateral

   estoppel neither CHRISTIE KAHN SELL, JUDGE nor any judge within the Hamilton County

   Sessions Court of Hamilton County, TN can rule against Ernest Henderson in criminal trespass

   case since implied acquittal applies, through Green vs United States, a clearly established case

   on implied acquittal.

   DIVISION II ... ALEXANDER McVEAGH, JUDGE

   DIVISION III ... GERALD WEBB, JUDGE

   DIVISION IV ... LILA STATOM, JUDGE

   DIVISION V ... GARY W. STARNES, JUDGE




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   My dismissal of GSI786879, GS1786880, by the District Attorney of Hamilton County, TN included

   both disorderly conduct and criminal trespass, now on March 19, 2020 the Hamilton County Sessions

   Court of Tennessee wants to present to Judge Sell who already have violated several clearly established

   Constitutional Rights of Ernest Henderson, now presenting the criminal trespass to the court by another

   officer is in direct conflict with Green vs United States. Hamilton County Sessions Court of Tennessee

   and Chattanooga Police Department cannot bring any more criminal trespass cases against Ernest

   Henderson in Hamilton County Sessions Court of Tennessee because of three events clearly established in

   law, for judge Sell, Caperton et al. v. A. T. MASSEY COAL CO., INC., et al. (2009), she participated in

   violations of Ernest Henderson constitutional rights and cannot be allowed to stand in judgment of Ernest

   Henderson again in another criminal trespass case where no judge within the Hamilton County Sessions

   Court of Tennessee cannot rule against Ernest Henderson on March 19, 2020 because of Collateral

  estoppel though it is being presented by other police officers within the same police department of

   Chattanooga Tennessee through Ashe v. Swenson, 397 U.S. 436 (1970) and through Green vs United

  States, through implied acquittal. Ernest Henderson charges in GSI786879, GS1786880 were dismissed

   so that qualifies Ernest Henderson for protection on March 19, 2020 through implied acquittal and

   collateral estoppel Ashe v. Swenson, (1970) clearly established on retrial after acquittal. Officer Johnson

   (853) of Chattanooga Police Department violated Ernest Henderson constitutional Rights when she filed a

   citation for criminal trespass for Ernest Henderson going into his storage unit on February 08, 2020 after

   acquiring another storage unit to move his things to. Officer in car #4955 stated, "you must call and

   notify Extra Space Storage that you are coming to get your items from storage". I ask the officer where is

   the court order that states that? He said, "Yes this is a civil matter but you have to do that". Officer

   Johnson (853) stated on 02/08/2020 to Ernest Henderson that you must call 911 and notify us that you are

   coming to obtain your things from the storage unit. Officer Johnson (853) knew she was participating in

   a conspiracy through her efforts that is why she did not arrest Mr. Henderson because she knew she was

   operating outside of her legal law enforcement jurisdiction and therefore non arrest would not place the




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    judge name on the paper work which would definitely leave Mr. Henderson in limbo about the judicial

    name of the person presiding over the March 19, 2020 which Judge Sell cannot because of her failure on

    December 19, 2019 to honor the united states constitution. Elliot v. Piersol, 1 Pet. 328, 340, 26 U.S. 328,

    340 (1828). Under federal Law, which is applicable to all states, the U.S. Supreme Court stated that "of a

    court is without authority, its judgements and orders are regarded as nullities. They are not voidable, but

    simply void, and form no bar to a recovery sought, even prior to a reversal in opposition to them. They

    constitute no justification and all persons concerned in executing such judgments or sentences are

    considered, in law, as trespassers." "No judicial process, whatever form it may assume, can have any

    lawful authority of the limits of the jurisdiction of the court or judge by whom it is issued; and an attempt

    to enforce it beyond these boundaries is nothing less than lawless violence." Ableman v. Booth, 21

    Howard 506 (1859). Judge Sell, Officer Johnson(853), Vince Dean all worked within the confounds of a

    clearly established case in Brown v. Topeka Board of Education, (1954) on equal treatment and due

    process. Vince Dean Clerk of the Court of Hamilton Sessions Court for criminal efforts lead his staff to

    withhold the clearance letter of the fraudulent arrest of Ernest Henderson through the voiding of his arrest

    on 11/22/19 by Officer Osburn and the illegal arrest with three other officers. Elizabeth Mccright,

    director of Chattanooga Housing Authority was encouraged through this Wilkins v U.S C.A. 241 C.A.S

    (Ala.)1967. Indictment under civil rights conspiracy statue must allege that it was intent of defendants,

    by their conspiracy, to hinder or prevent enjoyment of some right granted or secured by constitution, and

    must charge positively and not inferentially everything essential, although it is not necessary that

    indictment set out in detail evidence of conspiracy or describe it with same degree of particularly required

    in indictment for substantive offense, nor is it necessary to any overt act. The denial of services through

    Chattanooga Housing Authority along with the police corruption against Ernest Henderson shows a

    willingness compliance through behalf of the Chief of Police David Roddy, Elizabeth Mccright-

    Chattanooga Housing Authority, City of Chattanooga Attorney PHILLIP A. NOBLETT, along with

    City Council of Chattanooga, TN that proves that all of these people were more involve in this




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    conspiracy against Ernest Henderson through City Council silence on February 18, 2020 and

    more likely they are more like accomplices through Douglas v Alabama(]965).


    Douglas v. Alabama Provides Ernest Henderson in this 2nd false arrest

    1. Petitioner's (Ernest Henderson) inability to cross-examine the alleged accomplice about the purported
    confession, the prosecutor's reading of which may well have been treated by the jury as substantial and
    cogent evidence of guilt, denied petitioner the right of cross-examination secured by the Confrontation
    Clause of the Sixth Amendment, which is made applicable to the States by the Fourteenth. Pointer v.
    Texas, ante, p. 380 U. S. 400, followed. Pp. 380 U. S. 418-420.
    2. The opportunity to cross-examine the law enforcement officers did not redress denial of petitioner's
    right of confrontation. Pp. 380 U. S. 419-420. Exactly what Judge Sell allowed to happen to Ernest
    Henderson in Ernest Ienderson v Tennessee GSI786879, GS1786880.

    3. Petitioner's objections to the reading of the purported confession adequately preserved his claim of
    denial of a federal constitutional right regardless of their adequacy under state late as construed by the
    state appellate. Pp. 380 U. S. 420-422.

    The Sixth Amendment guarantees that "The accused shall enjoy the right * * * to have the Assistance of

    Counsel." These rights were denied plaintiff in this motion Ernest Henderson. SIMPIRO v. UNITED

    STATES. "It is vain to give the accused a day in court with no opportunity to prepare for it, or to

    guarantee him counsel without giving the latter any opportunity to acquaint himself with the facts or law

    of the case." Powell v. Alabama, 287 U.S. 45 (1932). This arrest for the criminal trespass on March 19,

    2020 is to assist the City of Chattanooga, TN in their failures to respond to Ernest Henderson civil rights

    violations case where they are failing miserably in 1: 19-CV-003 74-CLC/SKL. Judge Sell is trying to

    assist in the false arrest of Ernest Henderson on 02/08/2020 by Officer Johnson and her co-

    worker white male officer is a total violation of the sixth amendment to the United States

    Constitution through Pointer v. Texas, ante, p. 380 U. S. 400, followed. Pp. 380 U. S. 418-420 and

    trying to alleviate Magistrate Judge Susan Lee efforts in destroying case 1:19-CV-00374-CLC/SKL

    and give the federal case against the Extra Space Storage some help because they are failing to respond to

    the motions filed by Ernest Henderson. 1:19-CV-00374-CLC/SKL and in No.:20-CV-00014-HSM-

    SKL are the two cases in United States Eastern District of Tennessee Court of Chattanooga, TN 37402

    that Magistrate Judge Susan Lee is trying to illegally dismissed but Ernest Henderson persistence is



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   causing the City of Chattanooga, TN problems because they are losing miserably in court. They need

   some help that is why they are allowing the Law Enforcement Officers like Officer Johnson (853) to file

   criminal complaints and not add her co-worker name onto the complaint. Which is a violation of both

   Due Process, and Confrontational Clause of the United States Constitution. Governor Lee of Tennessee

   ordered the illegal arrest through the increase in funding to the City of Chattanooga, TN if they could pull

    it off which is in direct parallel to Racterring Act Used by District Attorney in Georgia in the charges

   against the Teachers for falsifying the test results and encouraging the children to cheat on their testing in

    Georgia which would increase their salaries and in parallel to the City Council silence on February 18,

   2020 where Ernest Henderson spoke out against the conspiracy in City Council Meeting proclaiming false

    arrest and not one word mention on record by the City of Council on February 18, 2020 which is a direct

    violation of Due Process of Law.


            This case 1:1 9-CV-003 74-CLCISICL is special because it is between self-storage company

    Extra Space Storage, a plantiff in Spade v. Select Comfort Corp. The Self Storage Association (SSA), has

    a blog that is called the SSA Blog and it is dated 1/17/2017 and the author of the blog is Scott Zucker

    posted on 1/17/2017 9:48:00 AM, "The approach for evicting a paying tenant is to take your lease and

    claim of tenant breach and file the appropriate dispossessory or eviction papers with your County Court.'

    `The basis of such an action is that the tenant, after being terminated, is now a "tenant at sufferance." "A

    tenant at sufferance is one who holds over its tenancy against the consent of the landlord.' Such

    dispossessory or eviction proceedings for a tenant at sufferance can be commenced and resolved quickly

    (unless the tenant contests the action) and, if successful, the result would be a court order allowing you to

    evict the tenant and their property.' `If the tenant later sued you for wrongful eviction, trespass or

    conversion, the court order would strengthen your defenses based on the position that the court approved

    the eviction." Scott Zucker, Scott@wzlegaI.com , is a partner in the law firm of Weissmann Zucker

    Euster Morochnik, P.C. in Atlanta, Georgia and Deputy General Counsel for the national Self Storage

    Association. Scott specializes in business litigation with an emphasis on real estate, landlord-tenant and




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    construction law. Heart ofAtlanta Motel, Inc. v. United States, 379 U.S. 241 (1964). A clearly

    established case for companies that serve the public with public accommodations, was a landmark United

    States Supreme Court case holding that the Commerce Clause gave the U.S. Congress power to force

    private businesses to abide by Title lI of the Civil Rights Act of 1964, which prohibits discrimination in

    public accommodations. That is clear. Why would a magistrate judge such as Susan K. Lee, United

    States Magistrate Judge deliberately violate and discriminate against a citizen seeking to utilize his

    constitutional right to file a grievance disrupt that opportunity with obstruction of justice, which is not a

    function of a Judge? "As the U.S. Supreme Court has held, the right to petition for redress of grievances

    is `among the most precious of the liberties safeguarded in the bill of rights'. Wilkins v U.S C.A. 241

    C.A.S (Ala.) 1967. Indictment under civil rights conspiracy statue must allege that it was intent of

    defendants, by their conspiracy, to hinder or prevent enjoyment of some right granted or secured by

    constitution, and must charge positively and not inferentially everything essential, although it is not

    necessary that indictment set out in detail evidence of conspiracy or describe it with same degree of

    particularly required in indictment for substantive offense, nor is it necessary to any overt act. Conspiracy

    is not a judicial function. Wilkins v U.S. C.A. 241 C.A.S (Ala.) 1967.


            "Assuming the non-diverse parties could be dropped from the case, the complaint does not

    include any allegations which would support an award of $75,000, despite Plaintiff's outrageous demand

    for nearly $1 million. Ernest Henderson believes that it is very important to be accurate with accusations

    made in a legal document that is more in Susan K. Lee, United States Magistrate Judge, in Case No.

    1: 19-cv-003 74-CLC/SKL defamation of character more than it is a legal document and clearly outside of

    her judicial jurisdiction when Ernest Henderson request for damages total is $700,000.00 not

    $1,000,000.00 which is direct in conflict with a judges function when a Judge does not suppose to care

    who are the plaintiff and does not supposed to favor any party if due process is active within the case. It

    appears that Judge admitted in that statement that Ernest Henderson has a valid case because in her own

    words she says," "Assuming the non-diverse parties could be dropped from the case, the complaint does




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    not include any allegations which would support an award of $75,000, despite Plaintiff's outrageous

    demand for nearly $1 million". Here Susan K. Lee, United States Magistrate Judge, in Case No. 1:19-

    cv-00374-CLC/SKL is taking it personal the damages that Ernest Henderson is requesting which her

    feelings on the matter are inaccurate when analyzing the amount requested and distinguishing between

    which is a fair amount and which is to much in her eyes which is and admitting of guilt on behalf of the

    defendants by Judge Susan K Lee, United States Magistrate Judge, in Case No. 1:19-cv-00374-

    CLC/SKL.

            Perjury, Racketeering, providing false information, conspiracy, and fraud are not elements of

    judicial functions. When a judge knows that he lacks jurisdiction, or acts in face of clearly valid statutes

    expressly depriving him or jurisdiction, judicial immunity is lost. Rankin v. Howard, 1980) 633 F.2d

    844, cert den. Zeller v. Rankin, 101 S. Ct. 2020, 451 U.S. 939, 68 L.Ed 2d 326. The Court in Yates v.

    Village of Hoffman Estates, Illinois, 209 F. Stipp. 757 (N.D. Ill. 1962) held that "not every action by a

    judge is in the exercise of his judicial function .... it is not a judicial function for a judge to commit an

    intentional tort even though the tort occurs in the courthouse. When a judge acts as a trespasser of the

    law, when a judge does not follow the law, the judge loses subject-matter jurisdiction and the judges'

    orders are void, of no legal force or effect." The Eleventh Amendment was not intended to afford them

    freedom from liability in any case where, under color of their office, they have injured one of the State's

    citizens. To grant them such immunity would be to create a privileged class free from liability from

    wrongs inflicted or injuries threatened. Public agents must be liable to the law, unless they are to be put

    above the law. See OLD COLONY TRUST COMPANY v. CITY SEATTLE ET AL. (06/01/26) 271

    U.S. 426, 46 S.Ct. 552, 70 L. Ed at page 431. No officer of the law may set that law at defiance with

    impunity. See United States v. Lee, 106 U.S. 196, 220 and Burton v. United States, 202U.S. 344


    RONEY, Circuit Judge in McTigue v. Chicago, 60 F.3d 381, 382 (7th Cir. 1995). Butz v. EConomon, 98

    S. Ct. 2894 (1978); United States v. Lee, 106 U.S. at 220, 1 S. Ct. at 261 (1882). "No man [or woman] in

    this country is so high that he is above the law. No officer of the law may set that law at defiance with




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    impunity. All the officers of the government from the highest to the lowest, are creatures of the law, and

    are bound to obey it." Cannon v. Conunission on Judicial Qualifications, (1975) Cal. 3d 678, 694. Acts

    in excess of judicial authority constitutes misconduct, particularly where a judge deliberately disregards

    the requirements of fairness and due process. Owen v. City of Independence. "The innocent individual

    who is banned by an abuse of government authority is assured that he will be compensated for his

    injury." U.S. Fidelity & Guaranty Co. (State use of), 217 Miss. 576, 64 So. 2d 697. When a           judicial

    officer acts entirely without jurisdiction or without compliance with jurisdiction requisites he may be held

    civilly liable for abuse of process even though his act involved a decision made in good faith, that he had

    jurisdiction. 'Scheuer v. Rhodes, 416 U.S. 232, 94 S. Ct. 1683, 1687 (1974). Note: By law, a judge is a

    state officer. The judge then acts not as a judge, but as a private individual (in his person). When a judge

    acts as a trespasser of the law, when a judge does not follow the law, the Judge loses subject-matter

    jurisdiction and the judges' orders are not voidable, but VOID, and of no legal force or effect. The U.S.

    Supreme Court stated that "when a state officer acts under a state law in a manner violative of the Federal

    Constitution, he comes into conflict with the superior authority of that Constitution, and he is in that case

    stripped of his official or representative character and is subjected in his person to the consequences of his

    individual conduct. The State has no power to impart to him any immunity from responsibility to the

    supreme authority of the United States." Susan K. Lee, United States Magistrate Judge, in Case No.

   1:19-cv-00374-CLCISKL acted when she did not have a right to act. She wrote Ernest Henderson's

    charges against Extra Space Storage, Salvation Army, Community Kitchen, and Police Chief David

    Roddy and failed a fraudulent report in her dismissal motion in the case. Judge Susan K. Lee, United

    States Magistrate Church in said case was committing perjury, conspiracy, fraud, and racketeering by

    filing her motion for dismissal which is voidable through Scheuer v. Rhodes, 416 U.S. 232, 94 S. Ct.

    1683, 1687 (1974), a clearly established case on voiding judges decisions based on their efforts to act

    when they do not have a right to act. The claims by Susan K. Lee, United States Magistrate Judge, in

    Case No. 1: 19-cv-003 74-CLC/SKL were more concerned with the damages being sought by Ernest

    Henderson more than the violations of Ernest Henderson's constitutional rights that were deliberately



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    violated by Extra Space Storage, Chief of Police David Roddy, Community Kitchen, and Salvation Army

    because in this world, President Abraham Lincoln issued the Emancipation Proclamation on January 1,

    1863, that supposedly to set African American Slaves free and make them human beings but those in

    power of the south and Jim Crow laws, opposed it so much they were willing to die in a civil war to fight

    for the abuse of African Americans which brought generation after generation of financial hardship on the

    African American Class. Susan K Lee, United States Magistrate Judge, in Case No. 1:19-cv-00374-

    CLC/SKL was upset more at the audacity of Ernest Henderson to file charges against white men even

    though the United States Constitution says; "The very essence of civil liberty certainly consists in the

    right of every individual to claim the protection of the laws when he receives an injury." 1 Cranch at 163

    (1803). The damages being sought by Ernest Henderson are listed below. Ernest Henderson listed the

    amount based off comparable cases where verdicts were being issued and for the amount of money

    organizations have received in result of their efforts for participating.


                             DAMAGES SEEKING in 1: 19-CV-003 74-CLC/SKL

                                  $150,000 FROM EXTRA SPACE STORAGE

                                      $150,000 FROM SALVATION ARMY

                                   $150,000 FROM COMMUNITY KITCHEN

         $250,000 FROM CHIEF OF POLICE DAVID RODDY(CITY OF CHATTANOOGA, TN

    False statements can be prosecuted as perjury under §1623 only if they are made in any proceeding

    before or ancillary to a federal court or grand jury.... To prosecutors, that may look like perjury, and a

    number of well-known criminal cases involved perjury charges. When she filed for both No. :20-CV-

    00014-HSM-SKL and 1:19-CV-00374-CLC/SKL. Perjury as a charge can be filed against

    Magistrate Judge Susan K. Lee because her dismissal request are made within United States

    Eastern District of Tennessee Court which qualifies her statements before a federal court of

    grand jury since she is participating more as a referee than a Magistrate Judge of the United

    States Eastern District of Tennessee Court. In American law, Scots law, and under the laws of some



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    English-speaking Commonwealth nations, subornation of perjury is the crime of persuading a person to

    commit perjury, which is the swearing of a false oath to tell the truth in a legal proceeding, whether

    spoken or written.


    18 U.S. Code § 1622. Subornation of perjury

            Governor of Alabama Kay Ivey: Illegally withholding Ernest Henderson Income Tax Checks

            Governor of Georgia Kemp: Illegally withholding Ernest Henderson tax income from State of

            Georgia that has grown to over $800,000. According to federal guidelines. He also had staff of

            Georgia to request of compliance through conspiracy acts of violence against Ernest Henderson

            with attempts to falsely arrest Ernest Henderson in: Douglasville, GA, Morrow Georgia, Atlanta,

            Ga, Fairburn, Ga, Clayton State University Police False arrest attempt, Morrow Ga police

            Attempt to entrap Ernest Henderson for rape. East Point trying to entrap Ernest Henderson into a

            murder he had nothing to do with where his supervisor beat his girlfriend to death.

            Governor of Maryland: created the first fraudulent illegal eviction of Ernest Henderson from an

            Extra Space Storage. Lead Maryland agencies to discriminate against Ernest Henderson. Lead

            Homeless Healthcare to deny Ernest Henderson housing assistance and encouraged the Maryland

            County police and judicial system fail to prosecute a claim made by Ernest Henderson.

            Commissioner of Tennessee Workforce Development lead staff members of the State of

            Tennessee employees to falsify documents and discriminate against Ernest Henderson by

            shipping his unemployment to Georgia without notifying him that they were doing so and then

            charging Ernest Henderson with overpayment when they did not provide the refund to Ernest

            Henderson. State of Georgia falsifying Ernest Henderson unemployment compensation and

            lowering his weekly amount illegally and ending his unemployment when an agent was to pay for

            unemployment compensation.




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               Relief is possible when a person in the position of a Judge does knowingly disregard Constitution

    and civil rights of others, his Oath of Office, and the Alabama Supreme Court Rules Code of Conduct.

    When a Judge steps beyond the boundaries that define his powers as a Judge, he then becomes an

    individual and is therefore responsible for his actions as such.

               Constitution Supreme Clause Article VI, Clause 2 of the Constitution (This Constitution, and the

    Laws of the United States which shall he made in Pursuance thereof; ....shall be the supreme Law of the

    Land; and the Judges in every State shall be bound thereby, any Thing in the Constitution or Laws of any

    state to the Contrary notwithstanding.) Absolute immunity is



    Subsequent interpretations of the Civil Rights Act by this Court acknowledge Congress' intent to reach unconstitutional actions

    by all state and federal actors including judges...The Fourteenth Amendment prohibits a tate [federal] from denying any person

    [citizen] within its jurisdiction the equal protection under the laws. Since a State [or federal] acts only by its legislative,

    executive or judicial authorities, the constitutional provisions must be addressed to those authorities, including state and federal

    judges."


    We conclude that judicial immunity is not a bar to relief against a judicial officer acting in her [his] judicial capacity.


    This is defined by law as the Stripping Doctrine.

               In Ex Parte Young, 209 U.S. 123 (1908), the Supreme Court provided an important exception to the I Ph Amendment
               sovereign immunity States enjoy: the Stripping Doctrine.

               The Stripping Doctrine is a legal fiction which allows injunctive relief against what are essentially state actions. While
               the I I 1 Amendment immunizes Statesfrom actions by private parties, the Stripping Doctrine argues tht when a state
               officer takes an unconstitutional action, he acts beyond the scope of his authority the officer was "stripped" of his
               official power and cannot invoke the State's immunity, although he remains subject to the consequences of his official
               conduct.

               The doctrine is a legal fiction because the officer, in acting unconstitutionally, was outside his official duties, but the
               citizen can now sue him for injunctive relief in her official capacity. Unless a citizen can enjoin the action the officer
               took in her official capacity, no remedy could be provided for an otherwise unconstitutional action (as the State itlsef is
               immune from prosecution).

               contrary.


               The presence of malice and the intention to deprive a person of his civil rights is wholly

    incompatible with the judicial function.




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    U.S. Supreme Court Reports, PIERSON v. RAY, 386 U.S. 547 (1967) 386 U.S. 549 PIERSON ET AL. V.

    RAY ET AL.


            When a judge acts intentionally and knowingly to deprive a person of his constitutional rights he

    exercises no discretion or individual judgment; he acts no longer as a judge, but as a "minister" of his own

    prejudices. [386 U.S. 547, 568].


            The Judge, by ignoring guidelines as set by law, did lose jurisdiction in the matter. His acts then

    became ultra vires or outside of the powers of his jurisdiction.


            "Jurisdiction, although once obtained, may be lost, and in such case proceedings cannot be

    validly continued beyond the point at which jurisdiction ceases". Federal Trade Commission v. Raladam

    Co. 283 U.S. 643 75 L. Ed 1324 51 S Ct. 587.


    For the purposes of review, it has been said that clear violations of laws on reaching the result, such as

    acting without evidence when evidence is required, or making a decision contrary to all the evidence, are

    just as much jurisdictional error as is the failure to take proper steps to acquire jurisdiction at the

    beginning of the proceeding. Borgnis v. Falk Co., 133 N. W. 209.


            "No sanction can imposed absent proof of jurisdiction". Stanard v. Olesen, 74 S.Ct.


    768. "Once jurisdiction is challenged, it must be proved". Hagans v. Levine, 415 U.S. 533, n.3.


            Without jurisdiction, the acts or judgments of the court are void and open to collateral attack.

    McLean v. Jephson, 123 N.Y. 142, 25 N.E. 409.


            Under Federal law which is applicable to all states, the U.S. Supreme Court stated that if a court

    is "without authority, is judgments and orders are regarded as nullities. They are not voidable, but simply

    void; and form no bar to a recovery sought, even prior to a reversal in opposition to them. They constitute

    no justification; and all persons concerned in executing such judgments or sentences, are considered, in

    law, as tresspassers. " Elliot v. Piersol. ! Pet. 328, 340, 26 U.S. 328, 340 (1828)




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    When a judge acts as a trespasser of the law, when a judge does not follow the law, the judge loses

    subject-matter jurisdiction and the judges orders are void, of no legal force or effect.


    The U.S. Supreme Court, in Scheurer v. Rhodes, 416 U.S. 232, 94 S.Ct. 1683. 1687 (1974) stated that

    "when a state officer acts under a state law in a manner violative of the Federal Constitution, he "comes

    into conflict with the superior authority of that Constitution, and he is in that case stripped of his official

    or representative character and is subjected in his person to the consequences of his individual conduct.

    The State has no power to impart to him any immunity from responsibility to the supreme authority of the

    United States." `Emphasis supplied in original]. By law, a judge is a state officer.


    The judge then acts not as a judge, but as a private individual (in his person). The U.S. Supreme Court

    has state that "No state legislator or executive or judicial officer can war against the Constitution without

    violating his undertaking to support it."


            The Court in Yates v. Village of Hoffman Estates, Illinois, 209 F. Supp. 757 (N.D. 111. 1962)


    held that "not every action by a judge is in exercise of his judicial function... it is not a judicial function

    for a judge to commit an intentional tort even though the tort occurs in the courthouse."


            Cooper v. Aaron. 358 U.S. 1. 78 S.Ct. 1401 (1958). Any judge who does not comply with his

    oath to the Constitution of the United States wars against that Constitution and engages in acts in

    violation of the Supreme Law of the Land. The judge is engaged in acts of treason.


            If a judge does not fully comply with the Constitution, then his orders are void, In re Sawyer, 124


    U.S. 200 (1888), he is without jurisdiction, and he has engaged in an act or acts of treason.


            Whenever a judge acts where he does not have jurisdiction to act, the judge is engaged in an act

    or acts of treason S. v Will, 449 U.S. 200, 216, 101 S.Ct. 471, 66 L. Ed. 2d 392, 406 (1980); Cohens v.

    Virginia, 19 US. (6 Wheat) 264, 404, 5 L.Ed 257 (1821).




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            [T]he Fourteenth Amendment forbids the use of involuntary confessions not only because of the

    probable unreliability of confessions that are obtained in a manner deemed coercive, but also because of

    the "strongly felt attitude of our society that important human values are sacrificed where an agency of the

    government, in the course of securing a conviction, wrings a confession out of an accused against his will."


        Effective Assistance of Counsel: "[T]he right to counsel is the right to the effective assistance of

    counsel.""' From the beginning of the cases holding that counsel must be appointed for defendants

    unable to afford to retain a lawyer, the Court has indicated that appointment must be made in a manner

    that affords "effective aid in the preparation and trial of the case." Thus, ineffective assistance provided

    by retained counsel provides a basis for finding a Sixth Amendment denial in a trial. Though this was

   traffic court, the violations where many and the conspiracy between Presiding Court Judge Less Hayes

   and Municipal Court Supervisor James Tolbert was complex and therefore the plaintiff was in need of

    expert legal assistance that would have been effective because these acts of violence were committed by

    Municipal Court Executives of Law in Presiding Municipal Court Judge Less Hayes and Supervisor of

    Montgomery Municipal Court both of Montgomery, AL.


    In Pyle v. Kansas, 317 U. S. 213, 215-216, we phrased the rule in broader terms:

                             "Petitioner's papers are inexpertly drawn, but they do set forth allegations that his
                              imprisonment resulted from perjured testimony, knowingly used by the State
                             authorities to obtain his conviction, and from the deliberate suppression by those
                             same authorities of evidence favorable to him. These allegations sufficiently
                              charge a deprivation of rights guaranteed by the Federal Constitution, and, if
                              proven, would entitle petitioner to release from his present custody. Mooney v.
                              Holohan, 294 U. S. 103. "

        The Double Jeopardy Clause of the Fifth Amendment to the United States Constitution provides:

    "[N]or shall any person be subject for the same offence to be twice put in jeopardy of life or limb ...."

    The four essential protections included are prohibitions against, for the same offense:


        •   retrial after an acquittal;
        •   retrial after a conviction;



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        •   retrial after certain mistrials; and
        •   multiple punishment

    In 503 U.S. 378 (1992), the U.S. Supreme Court ruled: "a[n] ... offense and a conspiracy to commit that

    offense are not the same offense for double jeopardy purposes." Sometimes the same conduct may

    violate different statutes. If all elements of a lesser offense are relied onto prove a greater offense, the

    two crimes are the "same offense" for double jeopardy purposes, and the doctrine will bar the second

    prosecution. Presiding Municipal Court Judge Less Hayes failed to adhere to a clearly established case

    law found in the United States Constitution 5"' Amendment through highway Arizona V. Rumsey, 467

    U.S. 203 (1984), though the acquittal of Ernest Henderson was erroneous through the conspiracy between

    Presiding Sessions Court Judge Christie M. Sell, Honorable Judge, Magistrate Judge Andrew Basler

    along with Chief of Police David Roddy all of Chattanooga, TN, they on 12/17/19 which shows the

    officer who wrote file the charges for criminal tresspass and disorderly conduct wrote a police report with

    wrong date and left off names of other officers who assisted in the illegal arrest, had "consciousness of

    guilt" or other motivation to avoid the evidence through appearing in court because the outcome had been

    discussed between the three; the judge, the court supervisor, and the officer.


            The Fifth Amendment has an explicit requirement that the Federal Government not deprive

    individuals of "life, liberty, or property," without due process of the law and an implicit guarantee that

    each person receive equal protection of the laws.

        The Fourteenth Amendment explicitly prohibits states from violating an individual's rights of due

    process and equal protection. Equal protection limits the State and Federal governments' power to

    discriminate in their employment practices by treating employees, former employees, or job applicants

    unequally because of membership in a group, like a race, religion or sex. Due process protection requires

    that employees have a fair procedural process before they are terminated if the termination is related to a

    "liberty," like the right to free speech, or a property interest. The amendment, particularly its first section,

    is one of the most litigated parts of the Constitution, forming the basis for landmark decisions such as




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    Brown v. Board of Education (1954) regarding racial segregation, Roe v. Wade (1973), clearly

    established cases on equal treatment, regarding abortion, Bush v. Gore (2000) regarding the 2000

    presidential election, and Oberaefell v. Hodges (2015) regarding same-sex marriage. The amendment

    limits the actions of all state and local officials, and also those acting on behalf of such officials.

            The Confrontation Clause of the Sixth Amendment to the United States Constitution provides

   that "in all criminal prosecutions, the accused shall enjoy the right ... to be confronted with the witnesses

   against him." The Fourteenth Amendment makes the right to confrontation applicable to the states and

    not just the federal government. Crawford v. Washington and Out-of-Court Statements. Alabama Rules

   of Evidence Article VIII Hearsay Rule 801 states the declarant is the person that makes the out of court

   statement; oral, written or through an assertion but it is only allowed if the person is cross examined and

    face the penalty of perjury at trial or hearing.

    If a person is arrested on less than probable cause, the United States Supreme Court has long recognized

    that the aggrieved party has a cause of action under 42 U.S.C. 1983 for violation of Fourth Amendment

    rights. Pierson v. Ray, 386 U.S. 547, 87 S.Ct. 1213 (1967).


    Harlow v. Fitz erald, 457 U.S. 800, 818 (there can be no objective reasonableness where


        (a) United States Constitution, Fourth Amendment (including Warrants Clause), Fifth Amendment

            (Due Process and Equal Protection), Ninth Amendment (Rights to Privacy and Liberty),

            Fourteenth Amendment (Due Process and Equal Protection).

        Relief is available in many forms here. Delcaratory relief, rulings by another Judge in the form of

        opinions establishing the Constitutionality or lack of Constitutionality of another Judge's actions and

        Injunctive relief, a command or order for an action or inaction, are just wo of the possibilities here,

        and both can be born from a jury's decision after the preponderance of evidence.


            Trial by jury should be allowed here to preserve the Plaintiff's right to due process. Together

        with the due process clause of the Fifth Amendment, the Seventh Amendment guarantees civil

        litigants the right t an impartial jury.



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              McCoy v. Goldston„ 652 F. 2d 654 [61h Cir. 19811, Page 40

             Snider v. Consolidation Coal Co. 973 F. 2d 555 [7m Cir. 1992[, Page 42

              Rivas v. Brattesani, 94 F. 3d 802 [2nd Cir. 1996[, Page 41

              When a lawsuit involves mixed questions of law equity, litigants may present the legal questions

    to a jury under the Seventh Amendment.


             There may be issues of partisanship, as a Judge is asked to judge the actions of another Judge. A

    jury would guard against partisanship, be it conscious or subconscious, in that a Judge may not interject

    their personal opinions or observations to such an extent that they impair a litigant's right to a fair trial.


             The Plaintiff, a Pro se litigant, in pursuit of what is defined in the Federal Rules of Civil

    Procedure 8 (f) as substantial justice, takes steps to make the Court aware of the following:


             The courts provide pro se parties wide latitude when construing their pleadings and papers.

    When interpreting pro se papers, the Court should use common sense to determine what relief the party

    desires. S.E.C. v. Elliott, 953 F.2d 1560, 1582 (11" Cir. 1992). See also, United States v. Miller, 197 F.

    3d 644, 648 (3rd Cir. 1999) (Court has special obligation to construe pro se litigants' pleadings liberally);

    Poling v. K Hovnanian Enterprises. 99 F. Supp 2d 502, 506-07 (D. N.J. 2000).


             Pro se litigants' Court submissions are to be construed liberally and held to less stringent

    standards than submissions of lawyers. If the court can reasonably read the submissions of lawyers. If

    the court can reasonably read the submissions, it should do so despite failure to cite proper legal authority,

    confusion of legal theories, poor syntax and sentence construction, or litigant's unfamiliarity with rule

    requirements.


    McCoy v. Goldston, 652 F. 2d 654[6gh Cir. 1981 ], Page 40

    Snider v. Consolidation Coal Co. 973 F. 2d 555 [7`h Cir. 1992], Page 42

    Rivas v. Brattesani, 94 F. 3d 802 [2nd Cir. 1996[, Page 41



    McCoy v. Goldson, 652 F. 2d 654 [61h Cir. 198[, Page 40

    Snider v. Consolidation Coal Co. 973 F. 2d 555 [71h Cir, 1992], Page 42




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    Rivas v. Brattesani, 94 F. 3d 802 [2nd Cir. 1996], Page 41

                Moreover, "the court is under a duty to examine the complaint to determine if the allegations

    provide for relief provide for relief on any possible theory," Bonner v. Circuit Court of St. Louis, 526

    F.2d 1331, 1334 (8`I' Cir. 1975) (quoting Bramlet v. Wilson, 495 F.2d 714, 716 (8"' Cir. 1974).


    Thus, if this court were to entertain any motion to dismiss this court would have to apply the standards of

    White v. Bloom Furthermore, if there is any possible theory that would entitle the Plaintiff to relief, even

    one that the Plaintiff hasn't thought of, the court cannot dismiss this case.


                                                      GOALS OF THIS SUIT


                This suit is not about monetary gain-it is about the preservation of an individual's Constitutional

    rights and how an individual citizen should be shielded from the government's arbitrary abuse of power.


                Although a monetary amount is a condition to allow the Seventh Amendment (trial by jury) to

    come to bear, it cannot, however, be removed from consideration here:

    The monetary issue will mainly be realized through the hearing of denied motions and the failures of the

    due process of law and petitions.

                This suit is to remove/void orders obtained by unconstitutional methods, and to allow motions

    and petitions that were filed properly and in a timely mariner to be heard by a non-bias




    7   Boaa v. MacDougall. 454 U.S. 364, 102 S.Ct. 700, 70 L.Ed.2d 551 (1982):

    Estelle v. Gamble, 429 U.S. 97, 106, 97 S.Ct. 285, 50 L.Ed.2d 251 (1976)(guoting Cnley v. Gibson, 355 U.S. 4, 45-46, 78 S.Ct. 99 2
    L.Ed 2d 80 (1957); Haines v. Kerner, 404 U.S. 519, 92 S.Ct 594, 30 L.Ed 2d 652 (1972); McDowell v. Delaware State Police, 88
    F.3d 188, 189 (3rd Cir. 1996); United States v. Day, 969 F.2d 39, 42 (3rd Cir. 1992) (holding pro se petition cannot be held to same
    standard as oleadinizs drafted by attornevsl: Then v. I.N.S.. 58 F.Suop. 422. 429 (D.N.J. 1999).

    Entity.' Further, it is to relieve the Plaintiff from arrest and incarceration, or various other sanctions upon

    reasonable assertion of his rights under the Constitution.

                This suit seeks to punish no one-it simply seeks to obtain the rights that under Constitutional

    theory, should already be the Plaintiff's.




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               Once again, I am not asking that anyone be punished-I am asking for the overturning of judicial

   orders that should have been legally and Constitutionally impossible to enter.

                                                            Conclusion


               In Conclusion, the Plaintiff does pray that this Court observe the practice of fundamental fairness

   that is Substantial Justice and not act as Bystanders while a citizen is denied the right to redress when life,

    liberty, and property have been denied under color of law.

   8 Elrod   v. Burns, 427 U.S. 347, 6 S.Ct. 2673; 49 L/Ed/2d (1976)

   "Loss of First Amendment Freedoms, for even minimal periods of time, unquestionably constitutes irreparable injury."

   United States Constitution, First Amendment: Right to petition; Freedom of association



    Davis v. Wechler, 263 U.S. 2, 24, Stromberb v. California, 283 U.S. 359; NAACP v. Alabama, 375 U.S. 449

   "The assertion of federal rights, when plainly and reasonably made, are not to b defeated under the name of local practice."

   Sherar v. Cullen, 481 F. 2d 946 (19730

   "There can be no sanction or penalty imposed upon one because of his exercise of Constitutional rights."

   Simmons v. United States, 390 U.S. 377 (1968)

   "The claim and exercise of a Constitutional right cannot be converted into a crime"... "a denial of them would be a denial of due
   process of law."

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    449

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   Simmons v. United States, 390 U.S. 377 (1968)

   "The claim and exercise of a Constitutional right cannot be converted into a crime"... "a denial of them
   would be a denial of due process of law."

   Wherefore plaintiff prays this Court issue equitable relief as follows:

   1. Issue injunctive relief commanding defendants to ...

   2. Issue declaratory relief as this Court deems appropriate just.

   3. Issue other relief as this Court deems appropriate and just.

   4. Award plaintiff his costs of litigation.




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